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                                IN THE UNITED STATES DISTRICT COURT
                                 FOR THE EASTERN DISTRICT OF TEXAS
                                        TEXARKANA DIVISION


    DANIEL R. SILER                                 §

    VS.                                             §                    CIVIL ACTION NO. 5:05cv90

    UNITED STATES OF AMERICA                        §


                      ORDER ADOPTING REPORT AND RECOMMENDATION

           The Court referred the above-entitled and numbered civil action to United States

    Magistrate Judge Caroline M. Craven. The Magistrate Judge presented for consideration the

    Magistrate Judge’s Report, containing proposed findings of fact and recommendations for

    disposition of this case.

           Petitioner filed objections to the Report. This Court made a de novo review of

    Petitioner’s objections and determined that they lack merit.

           This Court finds that the Magistrate Judge’s findings and conclusions are correct, and

    adopts them as the Court’s findings and conclusions. The Court therefore

           ORDERS that the Application to Appear Pro Hac Vice (dkt.#8) is GRANTED;

.          ORDERS that Respondent’s motion to dismiss (dkt.#5) is GRANTED;

           ORDERS, ADJUDGES, and DECREES that this action is DISMISSED WITH

    PREJUDICE; and

           ORDERS that all motions not previously ruled on are denied.

            SIGNED this 12th day of October, 2005.




                                                         ____________________________________
                                                         DAVID FOLSOM
                                                         UNITED STATES DISTRICT JUDGE
